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                                                                                                           E-FILED
                                                                    Thursday, 12 December, 2019 02:08:59 PM
                                                                                 Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS


AARON O’NEAL #N53022,                                   )
                                                        )
         Plaintiff,                                     )      Case No. 18-CV-4063
                                                        )
vs.                                                     )
                                                        )
MANUEL ROJAS, et al.                                    )
                                                        )
         Defendants.                                    )

                          RESPONSE TO MOTION TO COMPEL AND
                       REQUEST FOR EXTENSION OF TIME TO RESPOND

         NOW COME the Defendants, JOSEPH LaHOOD and ROBERT RODRIGUEZ, by their

attorneys, HEYL, ROYSTER, VOELKER & ALLEN, and for their response to the Motion to

Compel filed by Plaintiff, state as follows:

                                 Motion to Compel is Premature

      1. Plaintiff filed multiple documents on November 26, 2019 asking the Court to compel

discovery responses from Defendants Joe LaHood and Robert Rodriquez (referred to as

“Defendants represented by Hyel & Royster [sic].”

      2. Under Rule 37(a)(1), a motion to compel “must include certification that the movant has

in good faith conferred or attempted to confer with the person or party failing to make disclosure

or discovery in an effort to obtain it without court action.” In the affidavit in support to Plaintiff’s

Motion to Compel, Plaintiff states that, on or about November 1, 2019, Plaintiff wrote to the

undersigned counsel pointing out that the response was late and requested a response

immediately. Affidavit in Support of Plaintiff’s Motion to Compel, para. 4. [Doc. 85] However, a

review of the Defendant’s counsel’s file shows no such correspondence.



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   3. With that said, on the date of Plaintiff’s deposition (November 21, 2019), Plaintiff and

the undersigned counsel discussed the outstanding discovery. The undersigned counsel stated to

Plaintiff that discovery responses will be prepared and sent to Plaintiff. No specific time frame

was discussed. Defense counsel requested an extension of time to respond based on the reasons

discussed below. Nevertheless, only 5 days later, Plaintiff filed his Motion to Compel.

                 Counsel’s Late Appearance in the Case Delayed Production

   4. The undersigned counsel entered his appearance in this case on November 1, 2019. [Doc.

79]. On the same date, previous counsel Seth Uphoff was withdrawn from the case. [Doc. 81].

Having appeared in the case of November 1, 2019, the undersigned counsel needed reasonable

time to address the written discovery requests sent by Plaintiff.

   5. Having reviewed the file and found that the Court had ordered a discovery deadline of

November 25, 2019, Defense counsel hurriedly scheduled the deposition of Plaintiff. The initial

days on the file, Defense counsel acclimated to the file in preparation for the deposition. In the

time frame between November 1 and November 25, Defense counsel became aware of

outstanding discovery requests from Plaintiff.

   6. As stated earlier, on the date of Plaintiff’s deposition (November 21, 2019), Plaintiff and

the undersigned counsel discussed the outstanding discovery. The undersigned counsel stated

that discovery responses will be prepared and sent to Plaintiff. No specific time frame was

discussed. Defense counsel requested an extension of time to respond based on the reasons

discussed below. Nevertheless, only 5 days later, Plaintiff filed his Motion to Compel.

   7. Plaintiff was fully aware of counsel’s appearance in the file and rush to acclimate himself

with the file. Plaintiff’s unwillingness to cooperate with Defendants’ counsel shows a lack of

good faith on Plaintiff’s part in resolving the discovery matter without court action.


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                            Current Status of Discovery Responses

    8. Plaintiff states that he sent discovery to Defendants Joe LaHood and Robert Rodriquez on

September 18, 2019 and October 9, 2019. Defendants’ records indicate that Plaintiff sent four

sets of discovery requests to Defendants, which were received on July 1, 2019, September 23,

2019, October 15, 2019, and November 7, 2019. In addition, Defendants produced 11 answers to

Requests for Admission in August and an additional 9 answers in October.

    9. The July 1, 2019 responses were sent on August 30, 2019. Currently, drafts of responses

for the September 23, 2019, October 15, 2019, and November 7, 2019 discovery requests have

been prepared and will be reviewed by the named Defendants before they are executed and sent

to Plaintiff.

    10. The discovery matter is being addressed on an expedited basis. Defendants Joe LaHood

and Robert Rodriquez expect the remaining discovery responses to be completed by the end of

December.

                          A Reasonable Extension of Time Requested

    11. The delay in the responses have been reasonable. Delays have been due to the excessive

number of discovery requests made by Plaintiff, the large numbers of Requests to Admit sent

during discovery, and the late appearance of counsel on this file.

    WHEREFORE, for all the reasons stated above, Defendants Joe LaHood and Robert

Rodriquez request that the Motions to Compel [Docs. 84-85] be denied at this time, the

Defendants be given until January 3, 2020 to respond to Plaintiff’s discovery requests, new

deadlines be set for dispositive motions, and any such relief as the Court deems just.




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                                           JOSEPH LAHOOD and ROBERT RODRIGUEZ



                                                 By:   /s Syed E. Ahmad
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                                  PROOF OF SERVICE

       I hereby certify that on December 12, 2019, I electronically filed the foregoing
instrument, Response to Motion to Compel, with the Clerk of the Court using the CM/ECF
system and I hereby certify that I have mailed on December 12, 2019, by United States Postal
Service the foregoing instrument to the following non-CM/ECF participant:

Aaron O’Neal, N53022
HILL CORRECTIONAL CENTER
Inmate Mail/Parcels
PO Box 1700
Galesburg, IL 61401



                                                        /s     Syed E. Ahmad

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